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7
s                      UNITED STATES DISTRICT COURT
9                     CENTRAL DISTRICT OF CALIFORNIA
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11     iJNITED STATES OF AMERICA,                      Case No.: ~ a0,p 5 70'D M U
12                                   Plaintiff,        ORDER OF DETENTION
13     vs.
14
       ~e.~~pe De~~s~s ~I~van~q
15                                   Defendant.
16
17                                                I.
18     A.    (     On motion ofthe Government in a case allegedly involving:
19           1.   ()     a crime of violence.
20           2.   () an offense with maximum sentence of life imprisonment or death.
21           3.   (✓~ a narcotics or controlled substance offense with maximum sentence
22                       often or more years.
23           4.   ()     any felony -where defendant convicted oftwo or more prior offenses
24                       described above.
25           5.   () any felony that is not otherwise a crime of violence that involves a
26                       minor victim, or possession or use of a firearm or destructive device
27                       or any other dangerous weapon, or a failure to register under 18
28                       U.S.C. § 2250.
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 1     B.   (`~ On motion bY the Government/~ )on Court's own motion in a case
 2                 allegedly involving:
 3          (~ On the fu her allegation by the Government of:
4                  1.        ) a serious risk that the defendant will flee.
 5                 2.    O       a serious risk that the defendant will:                          ~'
6                        a.     ()      obstruct or attempt to obstruct justice.
 7                       b.     () threaten, injure or intimidate a prospective witness or
 8                       juror, or attempt to do so.
9      C.    The Government(~s/( )is not entitled to a rebuttable presumption that no
10           condition or combination of conditions will reasonably assure the defendant's
11           appearance as required and the safety or any person or the community.
12
13                                                II.
14     A.   (t~ The Court finds that no condition or combination of conditions will
15                 reas nably assure:
16           1.   ('     the a pearance ofthe defendant as required.
17                      (        and/or
18           2.   (;~ the safety of any person or the community.
19     B.   (,~' The Court finds that the defendant has not rebutted by sufficient evidence to
20                 the contrary the presumption provided by statute.
21
22                                                III.
23           The Court has considered:
24     A.   (X) the nature and circumstances of the offenses) charged, including whether
25                 the offense is a crime of violence, a Federal crime ofterrorism, or involves
26                 a minor victim or a controlled substance, firearm, explosive, or destructive
27                 device;
28     B.   (X) the weight of evidence against the defendant;

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 1     C.   (X) the history and characteristics ofthe defendant; and
2      D.   (X) the nature and seriousness of the danger to any person or the community.
3
4                                                    IV.
5            The Court also has considered all the evidence adduced at the hearing and the
6      arguments     and/or     statements      of counsel, and            the    Pretrial    Services
7      Report/recommendation.
8
9                                                     V.
10           The Court bases the foregoing findings) on the following:
11     A.   (J~ As to flight risk:
12           C.t,~ ~'Y~'k1~,,y S~°~n~L'1,~~ C;v'iS`~r~.tic~ S ~E'~I,~t ~✓Ic..e_
                                          J
13            ~~S~ph~ Cc~S~_
14            I~ v►vY' C ~i~l t/1~"l~lS il/~ ~,~1G~ ~ C~~llCX C~-~l ~'1.          uC.~ C~~~121~~1 ,~
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21     B.    (~ As to danger:
22              ~~~1 ~ l~~ec cc~Zm ~
23             e,+~~alflly Cn~l~~ce..( (~+~                          l~q~ ~~, ,~d,
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 1                                              1~f!~
2      A.   () The Court finds that a serious risk exists the defendant will:
3                  1.   () obstruct or attempt to obstruct justice.
4                  2.    O      attempt to/( )threaten, injure or intimidate a witness or juror.
5      B.    The Court bases the foregoing findings) on the following:
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7
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9
10                                              VII.
11     A.    IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
12     B.    IT IS FURTHER ORDERED that the defendant be committed to the custody ofthe
13           Attorney General for confinement in a corrections facility separate, to the extent
14           practicable, from persons awaiting or serving sentences or being held in custody
15           pending appeal.
16     C.    IT IS FURTHER ORDERED thatthe defendant be afforded reasonable opportunity
17           for private consultation with counsel.
18     D.    IT IS FURTHER ORDERED that, on order of a Court of the United States or on
19           request ofany attorney for the Government,the person in charge ofthe corrections
20           facility in which defendant is confined deliver the defendant to a United States
21           marshal for the purpose of an appearance in connection with a court proceeding.
22
23
24     DATED: ~IO ~ • 5~ ~Z
                                             J AN ROSENBLUTH
25                                           U.S. MAGISTRATE JUDGE
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